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15
                         IN THE UNITED STATES DISTRICT COURT
16                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION
17

18   PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
19
                                                     PLAINTIFFS’ ADMINISTRATIVE
                            Plaintiffs,              MOTION TO CONSIDER WHETHER
20
                                                     ANOTHER PARTY’S MATERIAL
            v.
21                                                   SHOULD BE SEALED
     GOOGLE LLC,
22                                                   CIVIL L.R. 7-11 and 79-5(f)
                            Defendant.
23
                                                     Referral: Hon. Susan van Keulen, UMSJ
24
                                                     No Hearing Date Set Pursuant to L.R. 7-11(c)
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                                                                      Case No. 4:20-cv-05146-YGR-SVK
                                  PLAINTIFFS’ ADMIN. MOTION TO SEAL
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 1           Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
 5
                                            Portions Sought to Be           Evidence offered in Support
 6                Document
                                                   Sealed                           of Sealing
 7         Plaintiffs’ Reply ISO
                                                                           Defendant to provide evidence,
      1.   Motion to Strike             3:3-4
 8                                                                         per L.R. 79-5(f)
           Schwartz
 9           Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials

10   designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.

11   Portions of the documents listed above quote, summarize, or otherwise reflect information that

12   Defendant Google LLC has designated “Confidential” or “Highly Confidential -Attorneys’ Eyes

13   Only.” Pursuant to Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party, bears

14   the responsibility to establish that all of the designated material is sealable.

15           RESPECTFULLY SUBMITTED AND DATED this 21st day of April 2022.

16

17    BLEICHMAR FONTI & AULD LLP                            DiCELLO LEVITT GUTZLER LLC

18
                                                            /s/ David A. Straite
      /s/ Lesley E. Weaver
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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Jay Barnes, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4   Dated: April 21, 2022                                         /s/ Jay Barnes
                                                                   Jay Barnes
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 1
                                     CERTIFICATE OF SERVICE
 2
            I hereby certify that on April 21, 2022, I electronically filed the foregoing document using
 3
     the CM/ECF system which will send notification of such filing to the e-mail addresses registered
 4
     in the CM/ECF system, as denoted on the Electronic Mail Notice List.
 5

 6                                                               /s/ Jay Barnes
                                                                 Jay Barnes
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                                                     4                      Case No. 4:20-cv-05146-YGR
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